Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 1 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 2 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 3 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 4 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 5 of 8



                                 

                                 

                                 

                                 

                                 

                                 

                                 

                                 

                                 

                                 

                                 




                   EXHIBIT A
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 6 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 7 of 8
Case 1:18-cv-00578-JEB Document 11-12 Filed 03/20/18 Page 8 of 8
